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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 GUIDECRAFT, INC.,                     )                  Case No.:2:18-cv-01247-LPL
                                       )
                Plaintiff,             )
                                       )
 vs.                                   )
                                       )
 OJCOMMERCE, LLC, et. al.              )
                                       )
                Defendant.             )
                                       )

                  AFFIDAVIT OF DEVIN FREEDMAN IN SUPPORT OF
                      MOTION FOR ADMISSION PRO HAC VICE

       I, DEVIN FREEDMAN, make this affidavit in support of the motion for my admission to

appear and practice in this Court in the above-captioned matter as counsel pro hac vice for

Defendants in the above-captioned matter pursuant to LCvR 83.2 and LCvR 83.3, LCrR 83.2 and

this Court's Standing Order Regarding Pro Hac Vice Admissions dated May 31, 2006 (Misc. No.

06-151).

       I, DEVIN FREEDMAN, being duly sworn, do hereby depose and say as follows:

   1. I am an attorney with the law firm Boies Schiller Flexner LLP.

   2. My business address is 100 SE 2nd Street, Suite 2800, Miami, FL 33131

   3. I am a member in good standing of the District of Columbia and Florida Bars My Florida

       bar identification number is 99762. My DC bar identification number is 1021812. I am

       also admitted in the United States District Courts for the Southern, Middle, and Northern

       Districts of Florida.

   4. I primarily practice in Florida. A current certificate of good standing from the Florida Bar

       is attached to this Affidavit as Exhibit A.
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   5. I never had any disciplinary action taken against me.

   6. I attest that I am a registered user of ECF in the United States District Court for the Western

       District of Pennsylvania.

   7. I attest that I have read, know and understand the Local Rules of Court for the United States

       District Court for the Western District of Pennsylvania.

   8. Based upon the foregoing, I respectfully request that I be granted pro hac vice admission

       in this matter.

       I certify and attest that the foregoing statements made by me are true. I am aware that if

any of the foregoing statements made by me are false, I am subject to punishment.

 Dated: October 4, 2018                              s/ Devin Freedman
                                                     DEVIN FREEDMAN




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